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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


 CAROLINE HARPER and COLE                     Civil Action No. 2:21-cv-12907
 ULRICH, individually and on behalf of
 all others similarly situated,               Hon. David M. Lawson
                                              Mag. Judge David R. Grand
        Plaintiffs,

        v.

GENERAL MOTORS LLC,

      Defendant.

       JOINT STIPULATION TO STAY FURTHER PROCEEDINGS

      Plaintiffs and General Motors LLC (“GM”), by and through their respective

counsel of record, have met, conferred, and stipulate as follows:

      1.     Plaintiffs Caroline Harper and Cole Ulrich filed their Complaint on

December 13, 2021. ECF No. 1. On February 14, 2022, GM moved to compel each

Plaintiff to arbitration. ECF No. 9. On February, 25, 2022, Plaintiffs filed a notice

that the plaintiffs in Speerly v. General Motors LLC, 19-11004 (E.D. Mich.) had

moved to consolidate this case with their own. ECF No. 14.

      2.     On March 21, 2023, the Court granted GM’s motion to compel each

Plaintiff to arbitration, and administratively closed this case. ECF No. 41.

      3.     On the same day, in the Speerly action, the Court granted those

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plaintiffs’ motion for class certification and denied their motion to consolidate these

plaintiffs’ claims into that action. See Speerly v. Gen. Motors LLC, 19-11004, ECF

Nos. 284, 285 (E.D. Mich. Mar, 21, 2023).

        4.   Also in the Speerly action, on April 3, 2023, GM filed a Rule 23(f)

petition for permission for immediate review of the class certification order. The

Sixth Circuit granted GM’s petition on October 23, 2023. See In re: General Motors,

LLC, Case No. 23-0104, ECF No. 20-2 (6th Cir. Oct. 23, 2023). GM filed its

opening merits brief on February 14, 2024. See Speerly v. Gen. Motors LLC, Appeal

No. 23-1940, ECF No. 24 (6th Cir. Feb. 14, 2024). The Speerly plaintiffs’ response

is due April 17, 2024.

        5.   On October 24, 2023, the Sixth Circuit also granted a petition to review

certification of classes of automotive purchasers under the laws of 10 states,

including California. See In re Nissan N. Am., Inc. Litig., Case No. 23-0501, ECF

No. 24-2 (6th Cir. Oct. 24, 2023). Nissan filed its opening merits brief on January

26, 2024. In re Nissan N. Am., Inc. Litig., Appeal No. 23-5950, ECF No. 36 (6th Cir.

Jan. 26, 2024). The Nissan plaintiffs’ response brief is currently due on March 27,

2024.

        6.   On November 17, 2023, GM and the Speerly plaintiffs jointly requested

that the Court stay all further proceedings until the Sixth Circuit rules on the merits

of GM’s appeal and Nissan’s appeal, both of which are expected to provide guidance


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to district courts overseeing automotive-defect class actions. See Speerly, ECF No.

297.   The Court granted the stay request, holding that the “pendency of [GM’s]

interlocutory appeal divests this Court of jurisdiction to address any aspects of the

case implicating the issues on appeal,” and staying the proceedings pending the

outcome of GM’s appeal. Speerly, ECF No. 298, PageID.20599.

       7.    On February 21, 2024, following an arbitrator’s award finding that GM

could not elect to arbitrate its dispute with Plaintiff Ulrich, Plaintiffs moved to

administratively reopen this case and schedule a status conference to discuss the next

steps in the litigation, including whether and how this case could be consolidated

with the Speerly case. See ECF No. 43. Plaintiffs’ motion noted that while Mr.

Urlich had received an arbitration award, Ms. Harper’s arbitration claim was

unresolved. Id., PageID.551.

       8.    On March 6, 2024, GM filed its response in which it stated that while

it did not oppose administratively reopening the case nor scheduling a status

conference, it believed the most appropriate course of action was to stay

proceedings. See ECF No. 44. GM confirmed its position that Ms. Harper has been

compelled to arbitration and that it stands ready to arbitrate if and when she elects

to pursue her claim. Id., PageID.583.

       9.    On March 14, 2024, the Court granted plaintiffs’ motion to

administratively reopen the case and scheduled a March 26, 2024 status conference


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to “determine an appropriate path forward for this litigation.”            ECF No. 45,

PageID.586.

       10.      On March 22, 2023, the status conference was reset for April 3, 2024.

       11.      In advance of the April 3, 2024 status conference, the parties have met

and conferred to discuss their positions on appropriate path forward for this

litigation. After discussion, the parties agree that further proceedings in this case

should be stayed until the Sixth Circuit rules on GM’s Speerly appeal, because the

appeal is likely to provide guidance to the Court and the parties on issues relevant to

discovery and class certification issues in this case.

       12.      The parties further agree that the most prudent course is to wait until

the Speerly appeal is remanded to revisit the question of whether this case should be

consolidated with Speerly. As the Court’s Speerly stay order recognizes, the Sixth

Circuit has largely divested it of jurisdiction to address “any aspects of the case

implicating the issues on appeal.” Speerly, ECF No. 298, PageID.20599. Moreover,

the outcome of the Speerly appeal may alter the Court’s consolidation analysis.

       13.      Finally, deferring the consolidation question will also provide sufficient

time for GM and Ms. Harper to arbitrate her claims.

       14.      For the Court’s consideration and for discussion at the upcoming status

conference, the parties hereby submit a proposed order to stay further proceedings

in this case.


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April 1, 2024                            Respectfully submitted,

/s/Douglas McNamara (with consent)       /s/ R. Allan Pixton
Douglas McNamara                         R. Allan Pixton
Karina Puttieva                          QUINN EMANUEL URQUHART &
Madelyn Petersen                         SULLIVAN, LLP
COHEN MILSTEIN SELLERS &                 191 N. Wacker Drive, Suite 2700
TOLL PLLC                                Chicago, IL 60606
1100 New York Ave. NW, 5th Floor         Telephone: (312) 705-7400
Washington, DC 20005                     Facsimile: (312) 705-7401
Telephone: (202) 408-4600                allanpixton@quinnemanuel.com
Facsimile: (202) 408-4699
dmcnamara@cohenmilstein.com              /s/ Stephanie A. Douglas
kputtieva@cohenmilstein.com              Stephanie A. Douglas
mpetersen@cohenmilstein.com              Susan McKeever
                                         BUSH SEYFERTH PLLC
Theodore Leopold                         100 W. Big Beaver Road, Suite 400
COHEN MILSTEIN SELLERS &                 Troy, MI 48084
TOLL PLLC                                Telephone: (248) 8220-7806
11780 U.S. Highway One, Suite N500       Facsimile: (248) 822-7000
Palm Beach Gardens, FL 33408             douglas@bsplaw.com
Telephone: (561) 515-1400                mckeever@bsplaw.com
tleopold@cohenmilstein.com

Attorneys for Plaintiffs                 Counsel for General Motors LLC




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